Case: 1:08-cr-00481-PAG Doc #: 93 Filed: 01/14/09 1 of 1. PageID #: 693




IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION
 ------------------------------------------------------   .
 UNITED STATES OF AMERICA                                 : CASE NO. 1:08 CR 481
                                                          :
                                             Plaintiff    :
                                                          : ORDER
                         -vs-                             :
                                                          :
                                                          :
 ANTHONY L. JERDINE, et al.,                              :
                                                          :
                                        Defendants        :
 ------------------------------------------------------   :


UNITED STATES DISTRICT JUDGE LESLEY WELLS


        On 19 November 2008, the government filed a 15 Count Indictment against 12

defendants alleging a conspiracy, pursuant to 18 U.S.C. 371, to commit certain offenses

against the United States in violation of 18 U.S.C. 1344 & 2 (Bank Fraud) and 18 U.S.C.

1957 & 2 (Money Laundering). (Doc. 1). Defendant Anthony L. Jerdine (“Mr. Jerdine”)

is named in the Indictment in Counts 1, 2 & 3-9. Id.

        On 16 December 2008 Mr. Jerdine presumptively filed, in this criminal matter, a

Petition for Writ of Habeas Corpus, pursuant to 28 U.S.C. § 2241. (Doc. 41). The

Office of the Clerk shall remove Mr. Jerdine’s 16 December 2008 habeas filing (Doc.

41) from this criminal case and open a new civil docket for that filing alone.


        IT IS SO ORDERED.

                                                     /s/Lesley Wells
                                                     UNITED STATES DISTRICT JUDGE

Date: 14 January 2009
